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                 Exhibit 12
       Declaration of Krys Holmes
             (Jul. 16, 2023)
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     UNITED STATES DISTRICT COURT, DISTRICT OF
                     MONTANA
                  BUTTE DIVISION

THE IMPERIAL SOVEREIGN COURT
OF THE STATE OF MONTANA; ADRIA
JAWORT; RACHEL CORCORAN; THE
MONTANA BOOK COMPANY; IMAGINE
BREWING COMPANY, LLC d/b/a                        Cause No. CV 23-50-BU-
IMAGINE NATION BREWING                                    BMM
COMPANY; BUMBLEBEE AERIAL
FITNESS; MONTANA PRIDE; THE
WESTERN MONTANA COMMUNITY                         Declaration of Krys
CENTER; THE GREAT FALLS LGBTQ+                    Holmes, Executive
CENTER; THE ROXY THEATER; and                    Director of the Myrna
THE MYRNA LOY,                                       Loy Theater

                       Plaintiffs,
            vs.

AUSTIN KNUDSEN; ELSIE ARNTZEN;
J.P. GALLAGHER; and the CITY OF
HELENA,

                       Defendants.
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I, Krys Holmes, declare as follows:

1.   I serve as the Executive Director of the Myrna Loy, 15 North

     Ewing Street, Helena, MT 59601

2.   The Myrna Loy is a nonprofit, community owned theater located

     in the Rodney Street district of downtown Helena, Montana.

3.   The Myrna Loy receives grant funding through the Montana

     Cultural Trust and the Montana Arts council, and has received

     grant funds through the Department of Commerce’s Tourism

     Grant Program.

4.   The Myrna Loy hosts film screenings, live music, and theater

     events seven days a week.

5.   The Myrna Loy’s mission is to inspire the creative spirits of people

     in and around Helena by presenting high quality, cultural

     significant films and performing arts, by supporting local and

     regional artists in their work, and by nurturing a lifelong love of

     the arts through education and residencies.

6.   The Myrna Loy extends its reach beyond the building by

     conducting arts education programs across Helena, including in

     schools and mental health care facilities, at hospitals and


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      elderhomes,      and   through   the   “Rodney    Street   is…”    art

      installations.

7.    The Myrna Loy historically has displayed films and authorized

      events that include drag, flamboyant costuming, sexual content,

      and partial or complete nudity as defined by HB 359. All such

      films and events have artistic, scientific, literary, and/or cultural

      value.

8.    HB 359 appears to prohibit such performances at The Myrna Loy

      because The Myrna Loy operates in a location owned by Lewis and

      Clark County.

9.    The Myrna Loy follows the Motion Picture Association’s ratings

      requirements. Audience members of all ages may attend G, PG,

      and PG-13 films. Audience members under the age of 17 may only

      view R-rated films with a parent or guardian over the age of 21.

10.   The Myrna Loy authorizes on-premises consumption of alcoholic

      beverages—beer and wine—and houses a pub.

11.   Because of the facts above, it appears that The Myrna Loy would

      bizarrely be considered a “sexually oriented business” under

      HB 359.



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12.   The Myrna Loy recently displayed the film Asteroid City.

13.   Asteroid City is a Motion Picture Association rated PG-13 film.

14.   Asteroid City is about children scientists forced to quarantine

      during a stargazer convention.       In one scene Actress Scarlett

      Johansson disrobes and steps into a bathtub. This scene appears

      to meet HB 359’s definition of “stripping” and thus “sexually

      oriented performance.”

15.   In   accordance    with   Motion     Picture   Association    ratings

      requirements, The Myrna Loy showed Asteroid City to a general

      audience with no age restrictions.

16.   It appears that The Myrna Loy could lose its operating license and

      the staff and Board of Directors could face criminal and civil

      liability for showing this PG-13 film because of HB 359.

17.   I have no way of knowing whether the State of Montana will

      enforce HB 359 to criminally charge or penalize The Myrna Loy or

      its employees.

18.   The Myrna Loy, its employees, and I fear that we face criminal

      and civil penalties for showing artistically meritorious films in

      compliance with industry standards.



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19.   I am unable to determine how The Myrna Loy can come into

      compliance with HB 359 while still serving its mission, its

      members, and its audience.

I declare under penalty of perjury that the foregoing is true and correct.

DATED this 17th day of July, 2023.


                                              /s/
                                                              Krys Holmes




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